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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-00210 GEB

12                                Plaintiff,            STIPULATION AND PROPOSED ORDER TO
                                                        CONTINUE INTIAL APPEARNCE FOR
13                          v.                          ARRAIGNMENT

14   JAGPAL SINGH,                                      DATE: January 23, 2018
                                                        TIME: 2:00 p.m.
15                                Defendant.            COURT: Hon. Edmund F. Brennan
16

17          Plaintiff United States of America, by and through its attorney of record, Assistant United States

18 Attorneys Todd A. Pickles and Rosanne L. Rust, and defendant Jagpal Singh, both individually and by

19 and through his counsel of record, I. Mark Bledstein, Esq., and Adam Koppekin, Esq., hereby stipulate:

20          1.      The Indictment in this case was filed on November 16, 2017, and defendant made his

21 initial appearance in this case on January 16, 2018 in the United States District Court for the Central

22 District of California. Defendant was ordered released on conditions and the posting of a secured bond,

23 and ordered to make his initial appearance for arraignment in this District on January 23, 2018.

24          2.      By this stipulation, defendant Jagpal Singh moves to continue his initial appearance to

25 January 31, 2018 at 2:00 p.m., before the duty Magistrate Judge, in order to permit his retained counsel

26 time to travel and appear at the initial appearance and arraignment. The United States does not oppose

27 this request.

28


      STIPULATION AND PROPOSED ORDER RE:                 1
      CONTINUANCE OF INITIAL APPEARANCE
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 1          3.      The parties further stipulate that the delay is required to allow the defense reasonable

 2 time for preparation and for continuity of counsel. The parties further agree that, to the extent

 3 applicable, the interests of justice served by granting this continuance outweigh the best interests of the

 4 public and the defendant in a speedy trial under 18 U.S.C. § 3161(h)(7)(A). Nothing in this stipulation

 5 and order shall preclude a finding that other provisions of the Speedy Trial Act dictate that additional

 6 time periods are excludable from the period within which a trial must commence.

 7          IT IS SO STIPULATED AND REQUESTED.

 8 Dated: January 22, 2018                                    MCGREGOR W. SCOTT
                                                              United States Attorney
 9
                                                      By: /s/ Todd A. Pickles
10                                                        TODD A. PICKLES
                                                          ROSANNE L. RUST
11                                                        Assistant United States Attorneys
12 Dated: January 22, 2018                            By: /s/ Todd A. Pickles for
                                                          I. Mark Bledstein, Esq.
13                                                        Adam Koppekin, Esq.
14                                                            Counsel for defendant Jagpal Singh
15

16                                  [PROPOSED] FINDINGS AND ORDER

17          For good cause showing, the Court ADOPTS the parties’ stipulation and ORDERS that the

18 initial appearance and arraignment for defendant Jagpal Singh is continued to January 31, 2018 at 2:00

19 p.m. before the duty Magistrate Judge.

20          IT IS SO FOUND AND ORDERED this 23rd day of January, 2018.

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23                                                     THE HONORABLE EDMUND F. BRENNAN
                                                       UNITED STATES MAGISTRATE JUDGE
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      STIPULATION AND PROPOSED ORDER RE:                  2
      CONTINUANCE OF INITIAL APPEARANCE
